Case 1:13-cr-00055-MJT-ZJH           Document 647         Filed 01/13/14       Page 1 of 2 PageID #:
                                            1897




                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

 UNITED STATES OF AMERICA                          §
                                                   §
 V.                                                §   CASE NO. 1:13-CR-55(20)
                                                   §
 XAVIER BAROCIO                                    §

         ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                     ON DEFENDANT’S GUILTY PLEA

        The Court referred this matter to the Honorable Keith F. Giblin, United States Magistrate Judge,

 for administration of a guilty plea under Rules 11 and 32 of the Federal Rules of Criminal Procedure.

 Judge Giblin conducted a hearing in the form and manner prescribed by Federal Rule of Criminal

 Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea Before the United

 States Magistrate Judge [Clerk’s Doc. #627]. The magistrate judge recommended that the Court accept

 the defendant’s guilty plea and conditionally accept the plea agreement. He further recommended that

 the Court finally adjudge the defendant as guilty on Count One and Count Two of the Second

 Superseding Indictment filed against the defendant in this cause.

        The parties have not objected to the magistrate judge’s findings. The Court ORDERS that the

 Findings of Fact and Recommendation on Guilty Plea [Clerk’s Doc. #627] of the United States

 Magistrate Judge are ADOPTED. The Court defers acceptance of the plea agreement until after review

 of the presentence report.


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Case 1:13-cr-00055-MJT-ZJH          Document 647         Filed 01/13/14      Page 2 of 2 PageID #:
                                           1898



        It is further ORDERED that, in accordance with the defendant’s guilty plea and the magistrate

 judge’s findings and recommendation, the defendant, Xavier Barocio, is hereby adjudged as guilty on

 Count One and Count Two of the Second Superseding Indictment charging violations of 21 U.S.C. §

 846.

        SIGNED this the 13 day of January, 2014.




                                      ____________________________
                                      Thad Heartfield
                                      United States District Judge




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